         Case 1:19-cr-00696-PAE Document 128 Filed 05/01/20 Page 1 of 1
                                          U.S. Department of Justice
[Type text]
                                                        United States Attorney
                                                        Southern District of New York
                                                        The Silvio J. Mollo Building
                                                        One Saint Andrew’s Plaza
                                                        New York, New York 10007


                                                        May 1, 2020

BY CM/ECF
The Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007


       Re:     United States v. Ari Teman,
               S2 19 Cr. 696 (PAE)

Dear Judge Engelmayer:

        The Government submits this letter and accompanying attachments in response to the
Court’s Order instructing the Government to file electronic copies of the exhibits introduced at
trial on the docket in this matter. Dkt. 127. In consultation with the defense, the Government has
isolated the exhibits introduced at trial, and attaches them to this filing. One exhibit, GX 113, is a
Microsoft Excel file that cannot be submitted as an attachment on CM/ECF, so the Government
will send a copy of that exhibit to the Court via email.

                                                        Respectfully submitted,

                                                        GEOFFREY S. BERMAN
                                                        United States Attorney for the
                                                        Southern District of New York

                                                  By:     /s/
                                                        Kedar S. Bhatia
                                                        Assistant United States Attorney
                                                        (212) 637-2465
